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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREW PERRONG, individually and on
behalf of all others similarly situated,
                     Plaintiff,                      Case No. 2:22-cv-04654-JS

       v.

CHIMA, L.L.C.

                   Defendant.


                PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY
                IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS


       Plaintiff respectfully files this Notice of Supplemental Authority in Opposition to

Defendant’s motion to dismiss. Earlier this week, Judge Baylson issued the first opinion in this

Court addressing the Third Circuit’s decision in Panzarella, cited in both Plaintiff and

Defendant’s briefs. There, Judge Baylson stated that the ATDS question “is a mixed question of

fact and law” and denied defendants’ motion, holding there was a genuine issue of material fact

as to whether a particular telephone system qualified as an ATDS under Panzarella. Smith v.

Vision Solar LLC, No. 20-2185, 2023 WL 2539017 at *2 (E.D. Pa. Mar. 16, 2023).

       Because the opinion makes clear that, after Panzarella, an ATDS system’s capability is

for the factfinder to determine, Defendant’s motion to dismiss should be denied.

Dated: March 18, 2023

                                             /s/ Anthony I. Paronich
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